                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MICHAEL BUXTON,

        Plaintiff,                                          Case No.: 1:24-cv-00604

 v.                                                         Judge Andrea R. Wood

 THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Jeffrey T. Gilbert
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
                87                                       Qingsan
                28                                    Hyunhow Tech
               78                                   HaoMai mens wear
               91                                       Dinoking
               94                                     Xiaofu FUSHI
               38                                     MEOGUTYI
                82                                     Large smile
                67                                       FJchenyi


DATED: March 14, 2024                               Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
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                                                    Chicago, Illinois 60604
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                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 14, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt




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